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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION

 CARMEN PAZ,

                      Plaintiff,
                                                         Case No. 10-cv-61213
 v.

 MERCANTILE ADJUSTMENT BUREAU, LLC,

                      Defendant.
                                                    /

                          NOTICE OF PENDING SETTLEMENT

        Defendant, Mercantile Adjustment Bureau, LLC, by and through its undersigned

 counsel, hereby submits this Notice of Pending Settlement and states that the parties have

 reached a verbal settlement with regard to this case and are presently drafting, finalizing,

 and executing the settlement and dismissal documents. Upon execution of the same, the

 parties will file the appropriate dismissal documents with the Court.

                                           Respectfully submitted,


                                           /s/ Dayle M. Van Hoose
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                                                                   Attorneys for Defendant,
                                                                   Mercantile Adjustment Bureau, LLC


                                                           CERTIFICATE OF SERVICE

              I certify that on this 11th day of November 2010, a copy of the foregoing was filed

 electronically in the ECF system. Notice of this filing will be sent to the parties of record

 by operation of the Court’s electronic filing system, including Plaintiff’s counsel as

 described below. Parties may access this filing through the Court’s system.

                                                         Alex D. Weisberg, Esq.
                                                        Weisberg & Meyers, LLC
                                                   5722 South Flamingo Road, Suite 656
                                                         Cooper City, FL 33330


                                                                   /s/ Dayle M. Van Hoose
                                                                   Attorney



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